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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
        THOMAS DUNGER,                           Case No: 2:18-cv-06374-PA(SSx)
                          Plaintiff,            [Los Angeles Superior Court Cas
                                                No. BC73484 before the Honorabl
              v.                                Monica Bachner]
        UNION PACIFIC RAILROAD                   DEFENDANT'S COMPENDIUM OF
        COMPANY, and DOES 1 through 20,          EVIDENCE IN SUPPORT OF ITS
        inclusive,                               MOTION FOR SUMMARY
                                                 JUDGMENT OR, IN THE
                           Defendants.           ALTERNATIVE, PARTIAL
                                                 SUMMARY JUDGMENT
                                                 Date: June 3, 2019
                                                 Time: 1:30 p.m.
                                                 Ctrm: 9A
                                                 State Complaint Filed: April 23, 2018
                                                 Trial: July 9, 2019

              Pursuant to the Court's Initial Standing Order and applicable rules,
        Defendant Union Pacific Railroad Company ("Defendant," or "UP") submits this
        Compendium of Evidence in Support of its Motion for Summary Judgment or, in
        the Alternative, Partial Summary Judgment. True and correct copies of relevant
        documents are attached to each declaration, listed below.
        ///
        ///
        ///
        ///
                                                1
                   DEF'S COMPENDIUM IN SUPPORT OF MTN FOR SUMMARY JUDGMENT
                                                     Case No. 2:18-cv-06374-PA(SSx)
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    1
          EXH.    DOCUMENTARY EVIDENCE
    2
            1         Declaration of Danielle H. Moore ("Moore Declaration"),
    3
                                        attaching Exhibits A - 00
    4
            2     Exhibit A to Moore Declaration: Relevant excerpts from the transcript
    5
                  of Plaintiff's deposition
    6
            3     Exhibit B to Moore Declaration: Exhibit 3 to the transcript of
    7
                  Plaintiff's deposition (UP's General Code of Operating Rules 1.6). The
    8
                  document is authenticated in the transcript of Plaintiff's deposition at
    9
                  74:2-13; 75:4-6
   10
            4     Exhibit C to Moore Declaration: Exhibit 5 to the transcript of
   11
                  Plaintiff's deposition (UP's "Use Family Leave Appropriately"
   12
                  policy). The document is authenticated in the transcript of Plaintiff's
   13
                  deposition at 89:9-25; 90:1-5
   14
            5     Exhibit D to Moore Declaration: Exhibit 8 to the transcript of
   15
                  Plaintiff's deposition (ethics bulletin issued by UP and entitled "Use
   16
                  Family Medical       Leave   Appropriately").      The   document     is
   17
                  authenticated in the transcript of Plaintiff's deposition at 116:15-25;
   18
                  117:1-11
   19
            6     Exhibit E to Moore Declaration: Exhibit 20 to the transcript of
   20
                  Plaintiff's deposition (record from an attendance conference involving
   21
                  Plaintiff and dated December 17, 2015).             The document is
   22
                  authenticated in the transcript of Plaintiff's deposition at 179:14-25;
   23
                  180:1-12
   24
            7     Exhibit F to Moore Declaration: Exhibit 21 to the transcript of
   25
                  Plaintiff's deposition (letter dated December 17, 2015 regarding
   26
                  Attendance Alert). The document is authenticated in the transcript of
   27
                  Plaintiff's deposition at 179:14-25; 180:1-12
   28
                                                  2
                  DEF'S COMPENDIUM IN SUPPORT OF MTN FOR SUMMARY JUDGMENT
                                                    Case No. 2:18-cv-06374-PA(SSx)
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    1
            8     Exhibit G to Moore Declaration: Exhibit 9 to the transcript of
    2
                  Plaintiff's deposition (family medical leave letter from UP to Plaintiff
    3
                  dated October 14, 2014).       The document is authenticated in the
    4
                  transcript of Plaintiff's deposition at 126:2-17
    5
            9     Exhibit H to Moore Declaration: Exhibit 10 to the transcript of
    6
                  Plaintiff's deposition (family medical leave letter from UP to Plaintiff
    7
                  dated November 4, 2014).          The document is authenticated in the
    8
                  transcript of Plaintiff's deposition at 131:6-20
    9
           10     Exhibit I to Moore Declaration: Exhibit 17 to the transcript of
   10
                  Plaintiff's deposition (family medical leave letter from UP to Plaintiff
   11
                  dated October 6, 2017). The document is authenticated in the transcript
   12
                  of Plaintiff's deposition at 148:2-20
   13
           11     Exhibit J to Moore Declaration: Exhibit 7 to the transcript of
   14
                  Plaintiff's deposition ("EDCF Calendar" and call log). The document
   15
                  is authenticated in the transcript of Plaintiff's deposition at 105:14-25;
   16
                  106:1-18
   17
           12     Exhibit K to Moore Declaration: Exhibit 22 to the transcript of
   18
                  Plaintiff's deposition (physician's note pertaining to Plaintiff). The
   19
                  document is authenticated in the transcript of Plaintiff's deposition at
   20
                  182:14-25; 183:1-20)
   21
           13     Exhibit L to Moore Declaration: Exhibit 19 to the transcript of
   22
                  Plaintiff's deposition (family medical leave letter from UP to Plaintiff
   23
                  dated October 27, 2017).       The document is authenticated in the
   24
                  transcript of Plaintiff's deposition at 178:18-25; 179:1-4
   25
           14     Exhibit M to Moore Declaration: Exhibit 23 to the transcript of
   26
                  Plaintiff's deposition (letter from UP to Plaintiff with the subject
   27

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                  DEF'S COMPENDIUM IN SUPPORT OF MTN FOR SUMMARY JUDGMENT
                                                    Case No. 2:18-cv-06374-PA(SSx)
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     1
                  "Notice of Investigation").       The document is authenticated in the
    2
                  transcript of Plaintiff's deposition at 183:24-25; 184:1-14
     3
           15     Exhibit N to Moore Declaration: Exhibit 24 to the transcript of
    4
                  Plaintiff's deposition (transcript of a disciplinary hearing involving
     5
                  Plaintiff that took place on November 17, 2017). The document is
    6
                  authenticated in the transcript of Plaintiff's deposition at 188:1-25
     7
           16     Exhibit 0 to Moore Declaration: Exhibit 25 to the transcript of
    8
                  Plaintiff's deposition (letter from UP to Plaintiff with the subject
    9
                  "Notification of Discipline Assess"). The document is authenticated in
    10
                  the transcript of Plaintiff's deposition at 191:1-17
   11
           17     Exhibit P to Moore Declaration: Dunger 00211
   12
           18     Exhibit Q to Moore Declaration: Dunger 00212
   13
           19     Exhibit R to Moore Declaration: Dunger 00214
   14
           20     Exhibit S to Moore Declaration: Dunger 00215
   15
           21     Exhibit T to Moore Declaration: Dunger 00216
   16
           22     Exhibit U to Moore Declaration: Dunger 00217-222
   17
           23     Exhibit V to Moore Declaration: Dunger 00223
   18
           24     Exhibit W to Moore Declaration: Dunger 00224
   19
           25     Exhibit X to Moore Declaration: Dunger 00225
   20
           26     Exhibit Y to Moore Declaration: Dunger 00228-230
   21
           27     Exhibit Z to Moore Declaration: Dunger 00231-236
   22
           28     Exhibit AA to Moore Declaration: Dunger 00238
   23
           29     Exhibit BB to Moore Declaration: Dunger 00239
   24

   25
           30     Exhibit CC to Moore Declaration: Dunger 00240

   26
           31     Exhibit DD to Moore Declaration: Dunger 00242

   27      32     Exhibit EE to Moore Declaration: Dunger 00244

   28      33     Exhibit FF to Moore Declaration: Dunger 00249-250

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                  DEF'S COMPENDIUM IN SUPPORT OF MTN FOR SUMMARY JUDGMENT
                                                    Case No. 2:18-cv-06374-PA(SSx)
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    1
           34     Exhibit GG to Moore Declaration: Dunger 00253-254
    2
           35     Exhibit HH to Moore Declaration: Dunger 00256-257
    3
           36     Exhibit II to Moore Declaration: Dunger 00258
    4
           37     Exhibit JJ to Moore Declaration: Dunger 00263-264
    5
           38     Exhibit KK to Moore Declaration: Dunger 00301-305                  ,
    6
           39     Exhibit LL to Moore Declaration: Dunger 00255
    7
           40     Exhibit MM to Moore Declaration: Dunger 00073-74
    8
           41     Exhibit NN to Moore Declaration: Relevant excerpts from the
    9
                  transcript of Andrea Mader's deposition
   10
           42     Exhibit 00 to Moore Declaration: Relevant excerpts from the
   11
                  transcript of Daniel K. Glenn's deposition
   12
           43            Declaration of Tammy Potter, ("Potter Declaration")
   13
                                         attaching Exhibits A — 0
   14
           44     Exhibit A to        Potter   Declaration: UP's    Use    Family    Leave
   15
                  Appropriately policy, Bates numbered UP000029, which was
   16
                  applicable to Plaintiff and in effect at all times relevant to UP's Motion
   17
           45     Exhibit B to Potter Declaration: UP's employee status log for
   18
                  Plaintiff, Bates numbered UP000030, which depicts dates on which
   19
                  Plaintiff was approved to take medical leave during his employment
   20
                  with UP
   21
           46     Exhibit C to Potter Declaration: call log, Bates numbered UP000034,
   22
                  which depicts instances in which Plaintiff called UP to request leave
   23
                  via UP's "Layoff Line."
   24
           47     Exhibit   D to      Potter Declaration: calendar, Bates numbered
   25
                  UP000033, which shows the dates on which Plaintiff took medical
   26
                  leave in October 2017
   27

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                  DEF'S COMPENDIUM IN SUPPORT OF MTN FOR SUMMARY JUDGMENT
                                                    Case No. 2:18-cv-06374-PA(SSx)
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    1
           48     Exhibit E to Potter Declaration: relevant excerpts from UP's General
    2
                  Code of Operating Rules, dated April 7, 2010, and Bates numbered
    3
                  UP000037 through UP000038, which were applicable to Plaintiff and
    4
                  in effect at all times relevant to UP's Motion
    5
           49     Exhibit F to Potter Declaration: Document, Bates numbered
    6
                  UP000012 through UP000015, UP000018, UP000028, UP000063,
    7
                  UP000083 through UP000088, UP000095, and UP000133 through
    8
                  UP000134 noting Plaintiff's disciplinary history while employed by
    9
                  UP
   10
           50     Exhibit G to Potter Declaration: Document, Bates numbered
   11
                  UP000017 and UP000023 noting Plaintiff's history of absences while
   12
                  employed by UP
   13
           51     Exhibit H to Potter Declaration: Document, Bates numbered
   14
                  UP000055 through UP000056 noting Plaintiff's history of FMLA
   15
                  leave use while employed by UP
   16
           52     Exhibit I to Potter Declaration: UP's Family and Medical Leave
   17
                  Policy, Bates numbered UP000044 through UP000049 and dated
   18
                  August 5, 2015, which was applicable to Plaintiff and in effect at all
   19
                  times relevant to UP's Motion
   20
           53     Exhibit J to Potter Declaration: UP's Attendance Policy, Bates
   21
                  numbered UP000024 and dated September 15, 2015, which was
   22
                  applicable to Plaintiff and in effect at all times relevant to UP's Motion
   23
           54     Exhibit K to Potter Declaration: UP online ethics bulletin entitled
   24
                  "Use Family Medical Leave Appropriately," Bates numbered
   25
                  UP000031, which was issued to all UP employees on or about April 21,
   26
                  2017
   27

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                  DEF'S COMPENDIUM IN SUPPORT OF MTN FOR SUMMARY JUDGMENT
                                                    Case No. 2:18-cv-06374-PA(SSx)
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    1
           55     Exhibit L to Potter Declaration: Letter dated November 27, 2017 sent
    2
                  to Plaintiff from UP's Health and Medical Services department
    3
                  regarding the leave he requested on October 5, 2017, Bates numbered
    4
                  UP000148-150
    5
           56     Exhibit M to Potter Declaration: Plaintiff's Certification of Health
    6
                  Care Provider dated May 14, 2016 sent to UP
    7
           57     Exhibit N to Potter Declaration: Plaintiff's Certification of Health
    8
                  Care Provider dated October 17, 2017 sent to UP
    9
           58     Exhibit 0 to Potter Declaration: Complaint Plaintiff filed with UP
   10
                  dated October 24, 2017
   11
           59     Exhibit P to Potter Declaration: Plaintiff's updated Certification of
   12
                  Health Care Provider dated November 16, 2017 sent to UP
   13
           60          Declaration of Terrill Maxwell ("Maxwell Declaration"),
   14
                                        attaching Exhibits A — D
   15
           61     Exhibit A to Maxwell Declaration: The applicable Collective
   16
                  Bargaining Agreement for Mr. Dunger's Union
   17
           62     Exhibit B to Maxwell Declaration: The Union's brief submission to
   18
                  the Board regarding Plaintiff
   19
           63     Exhibit C to Maxwell Declaration: Carrier's Submission relating to
   20
                  the Union's claim on behalf of Mr. Dunger with attached exhibits.
   21
           64     Exhibit D to Maxwell Declaration: The Board's December 11, 2018
   22
                  decision regarding Mr. Dunger.
   23
           65         Declaration of Kali Landmark ("Landmark Declaration"),
   24
                                        attaching Exhibits A — E
   25
           66     Exhibit A to Landmark Declaration: November 28, 2017, letter
   26
                  received from Derek Battle regarding Thomas Dunger's appeal
   27

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                  DEF'S COMPENDIUM IN SUPPORT OF MTN FOR SUMMARY JUDGMENT
                                                    Case No. 2:18-cv-06374-PA(SSx)
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    1
           67     Exhibit B to Landmark Declaration: January 11, 2018, letter sent to
    2
                  Mr. Battle denying Mr. Dunger's appeal
    3
           68     Exhibit C to Landmark Declaration: January 15, 2018, letter received
    4
                  from Mr. Mader regarding his investigation and decision regarding
    5
                  Mr. Dunger
    6
           69     Exhibit D to Landmark Declaration: January 23, 2018, letter received
    7
                  from Mr. Battle
    8
           70     Exhibit E to Landmark Declaration: Signature page confirming no
    9
                  change in Union Pacific's decision with regard to Mr. Dunger
   10
           71             Declaration of Daniel Glenn ("Glenn Declaration),
   11
                                         attaching Exhibits A - S
   12
           72     Exhibit A to Glenn Declaration: December 17, 2015 Attendance Alert
   13
                  Notice to Plaintiff
   14
           73     Exhibit B to Glenn Declaration: November 9, 2017, letter from Brad
   15
                  Steffel to Thomas Dunger with the subject line "Notice of
   16
                  Investigation"
   17
           74     Exhibit C to Glenn Declaration: November 10, 2017, letter from Brad
   18
                  Steffel to Thomas Dunger with the subject line "Notice of
   19
                  Investigation"
   20
           75     Exhibit D to Glenn Declaration: UP's General Code of Operating
   21
                  Rules, Rule 1.6, dated April 7, 2010, and Appendix C: Glossary
   22
                  defining "dishonest"
   23
           76     Exhibit E to Glenn Declaration: UP's Family & Medical Leave
   24
                  Policy, indicating it was revised August 5, 2015
   25
           77     Exhibit F to Glenn Declaration: UP's Use Family Medical Leave
   26
                  Appropriately policy
   27

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                  DEF'S COMPENDIUM IN SUPPORT OF MTN FOR SUMMARY JUDGMENT
                                                    Case No. 2:18-cv-06374-PA(SSx)
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    1
           78     Exhibit G to Glenn Declaration: UP's Ethics Bulletin: Use Family
    2
                  Medical Leave appropriately ("Ethics Bulletin") posting dated
    3
                  April 21, 2017
    4
           79     Exhibit H to Glenn Declaration: October 6, 2017, letter from UP's
    5
                  Health and Medical Services Department to Mr. Dunger regarding his
    6
                  leave
    7
           80     Exhibit I to Glenn Declaration: Two screenshots from UP's online
    8
                  human resources system showing Mr. Dunger's employee ID number
    9
                  as 0044911 and showing that his intermittent leave was approved as of
   10
                  October 5, 2017, through October 5, 2018
   11
           81     Exhibit J to Glenn Declaration: Mr. Dunger's EDCS calendar for
   12
                  October 2017
   13
           82     Exhibit K to Glenn Declaration: A report indicating vacation days that
   14
                  were available to Mechanical employees in 2017
   15
           83     Exhibit L to Glenn Declaration: call log indicating days in which
   16
                  Mr. Dunger called UP's Layoff Line to request FMLA and/or paid
   17
                  vacation days in 2017
   18
           84     Exhibit M to Glenn Declaration: FMLA Absence Detail report
   19
                  indicating days in which Mr. Dunger requested and/or used leaves from
   20
                  2014 through 2017
   21
           85     Exhibit N to Glenn Declaration: Video depicting Plaintiff and others
   22
                  on a fishing boat
   23
           86     Exhibit 0 to Glenn Declaration: Employee Information sheet
   24
                  regarding Mr. Dunger
   25
           87     Exhibit P to Glenn Declaration: Employee Information sheet
   26
                  regarding Jassier Vargas
   27

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                  DEF'S COMPENDIUM IN SUPPORT OF MTN FOR SUMMARY JUDGMENT
                                                    Case No. 2:18-cv-06374-PA(SSx)
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     1
           88      Exhibit Q to Glenn Declaration: Employee Information sheet
     2
                   regarding Harrison Scharf
     3
           89      Exhibit R to Glenn Declaration: Employee Information sheet
     4
                   regarding John Lemus
     5
           90      Exhibit S to Glenn Declaration: Work or School Excuse dated
     6
                   October 19, 2017
     7
           91               Declaration of Brad Steffel ("Steffel Declaration"),
     8
                                         attaching Exhibits A — C
     9
           92      Exhibit A to Steffel Declaration: Video taken from Victor Prado's
    10
                   phone
    11
           93      Exhibit B to Steffel Declaration: November 9, 2017 to Plaintiff
    12
           94      Exhibit C to Steffel Declaration: November 15, 2017 letters sent to
    13
                   UP employees who appeared on video on the fishing boat with Plaintiff
    14
                   on October 21, 2017
    15
           95              Declaration of Andrew Mader ("Mader Declaration"),
    16
                                          attaching Exhibits A - C
    17
           96      Exhibit A to Mader Declaration: Transcript of the November 17,
    18
                   2017, hearing with exhibits marked during the hearing
    19
           97      Exhibit B to Mader Declaration: November 27, 2017, letter to
    20
                   Plaintiff
    21
           98      Exhibit C to Mader Declaration: January 15, 2018, letter to
    22
                   Kali Landmark
    23

    24   Dated: April 22, 2019                     Respectfully submitted,
    25                                             FISHER & PHILLIPS LLP
    26                                         By: /s/ Miranda R. Watkins
                                                   Danielle Hultenius Moore
    27                                             Miranda R. Watkins
                                                   Attorneys for Union Pacific Railroad
    28                                             Company
                                                10
                   DEF'S COMPENDIUM IN SUPPORT OF MTN FOR SUMMARY JUDGMENT
                                                     Case No. 2:18-cv-06374-PA(SSx)
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                                         CERTIFICATE OF SERVICE
              I, the undersigned, am employed in the County of San Diego, State of
        California. I am over the age of 18 and not a party to the within action; am
        employed with the law offices of Fisher & Phillips LLP and my business address
        is 4747 Executive Drive, Suite 1000, San Diego, California, 92121.
               On April 22, 2019 I served the foregoing document entitled
        DEFENDANT'S COMPENDIUM OF EVIDENCE IN SUPPORT OF ITS
        MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE,
        PARTIAL SUMMARY JUD ENT on al Le appearing and/or interested
        parties in this action by placing  the original    a true copy thereof enclosed in
        sealed envelope(s) addressed as o lows:
         Joseph Y. Avrahamy (SBN 150885)           Telephone: (818)990-1757
         LAW OFFICES OF JOSEPH Y.                  Facsimile: (818)990-1955
         AVRAHAMY                                  E-Mail: javrahamy@jyalaw.com
         16530 Ventura Boulevard, Suite 208        Co-Counsel for Thomas Dunger
         Encino, California 91436
         Marla A. Brown (SBN 140158)               Telephone: (310)779-4354
         2324 South Beverly Glen Boulevard,        Facsimile: (818)990-1955
         Suite 205                                 E-Mail: socalmab@sbcglobal.net
         Los Angeles, California 90064             Co-Counsel for Thomas Dunger
               [by ELECTRONIC SUBMISSION] - I served the above listed
               document(s) described via the United States District Court's Electronic
               Filing Program on the designated recipients via electronic transmission
              through the CM/ECF system on the Court's website. The Court's CM/ECF
              system will generate a Notice of Electronic Filing (NEF) to the filing party,
              the assigned judge, and any registered users in the case. The NEF will
               constitute service of the document(s). Registration as a CM/ECF user
               constitutes consent to electronic service through the court's transmission
               facilities.
              I declare that I am employed in the office of a member of the bar of this
        Court at whose direction the service was made.
               Executed April 22, 2019 at San Diego, California.
          Susan E. Valle                         By: C              Val&
                            Print Name                              Signature




                                                   1
                                                                     CERTIFICATE OF SERVICE
        FPDOCS 35256842.1
